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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                          v.                           ORDER

     JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                      Defendants.



         The Court is assessing the feasibility of conducting the trial scheduled in this case

  between October 25 and November 19, 2021, at the federal courthouse in Charlottesville. The

  parties shall forthwith contact the Clerk’s Office, Scheduling Clerk at (434) 847-5722 to arrange

  a videoconference on the subject.

         It is so ORDERED.

         Entered this 26th     day of May, 2021.
